        Case:18-40955-EJC Doc#:43 Filed:10/22/18 Entered:10/22/18 15:05:25                                Page:1 of 1


         IT IS ORDERED as set forth below:




         Date: October 22, 2018



_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

 In re:                                                                          Case No.: 18−40955−EJC
 Ernest Munson Thompson and Sandra Mullis
 Thompson                                                                        Judge: Edward J. Coleman III
        Debtors
                                                                                 Chapter: 7

                           ORDER APPOINTING INTERNET AUCTIONEER


    The Application of the Trustee, Tiffany E. Caron, for appointment of BKAssets.com, LLC as Internet Auctioneer
 for the Trustee having been considered and it appearing to the Court that the employment of BKAssets.com, LLC is
 necessary and beneficial to this estate,
   It further appearing that the Internet Auctioneer has no adverse interest to those of this estate, and that the
 employment is proper,
    IT IS THEREFORE ORDERED that the Trustee is authorized to employ the services of BKAssets.com, LLC as
 Internet Auctioneer for the Trustee subject to objection by any party in interest within twenty−one (21) days of the
 date hereof. The compensation of such Internet Auctioneer will be later fixed and determined by the Court in such
 manner as the Court may from time to time direct after notice to creditors.
                                                   [END OF DOCUMENT]

 B−04e [07−14]
